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                                                                         FILED
                                                                          APR 2 4 2015
                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA     Cleo1st~:J=~rt
                        GREAT FALLS DIVISION              GreatFll1is




 UNITED STATES OF AMERICA,                          CR-12-48-GF-BMM-0l

                 Plaintiff,

       vs.                                    ORDER ADOPTING FINDINGS
                                              AND RECOMMENDATIONS OF
ALICIA ARlE ARTHUR,                              MAGISTRATE JUDGE

                 Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on April 8, 2015. (Doc. 77). Neither party filed

objections. When a party makes no objections, the Court need not review de novo

the proposed Findings and Recommendations. Thomas v. Am, 474 U.S. 140, 149­

52 (1986). This Court will review Judge Johnston's Findings and

Recommendations for clear error. McDonnell Douglas Corp. v. Commodore Bus.

Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Arthur admitted to having violated seven conditions of her supervised

release. (Doc. 77). Flynn admitted to having violated: (I) standard condition 7 by

failing to refrain from use of controlled substances; (2) special condition 2 by

failing to participate in substance abuse testing; (3) standard condition 5 by failing
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to maintain lawful employment; (4) special condition 9 by failing to make monthly

restitution payments; (5) standard condition 2 by failing to report to the probation

officer as directed; (6) special condition 3 by failing to participate in a program for

mental health treatment; and, (7) by failing to notify the probation officer of a

change in residence or employment. Id.

      Judge Johnston found Arthur's admissions sufficient to establish a

supervised release violation. Judge Johnston recommends that this Court revoke

Arthur's supervised release. Id. Judge Johnston also recommends that the Court

sentence Arthur to 7 months imprisonment with a term of 29 months of supervised

release to follow. Id.

      Arthur's criminal history category is IV, the current offense is a Grade C

violation, and the underlying offense is a Class C felony. The statutory range is a

maximum of24 months in custody followed by a term of supervised release of up

to 36 months, less any custody time imposed. The applicable guideline range is 6

to 12 months in custody followed by a term of supervised release of up to 36

months, less any custody time imposed.

      This Court finds no clear error in Judge Johnston's Findings and

Recommendations and adopts them in full. Arthur admitted that she violated

multiple conditions of her supervised release. A sentence of 7 months

imprisonment with a term of29 months supervised release to follow is appropriate
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in light of her numerous violations and continued substance abuse. A term of

imprisonment will ensure that Arthur will refrain from drug use while pregnant.

      IT IS HEREBY ORDERED that Judge Johnston's Findings and

Recommendations (Doc. 77) is ADOPIED IN FULL and Judgment shall be

entered accordingly.

      DAIED this 24th day of April, 2015.




               Brian Morris
               United States District Court Judge
